Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3583 Filed 10/06/14 Page 1 of 15




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                    Case No. 11-20188
 vs.
                                                    HON. GEORGE CARAM STEEH
 D-2 FRANK HARPER,
 D-4 PHILLIP HARPER and
 D-5 BERNARD EDMOND,

                 Defendants.
 _____________________________/

             ORDER DENYING DEFENDANTS’ MOTIONS FOR DIRECTED
           VERDICT, JUDGMENT OF ACQUITTAL NOTWITHSTANDING THE
            VERDICT, OR FOR NEW TRIAL [DOCS. 140, 173, 174, 175] AND
             GRANTING GOVERNMENT’S MOTION TO STRIKE [DOC. 195]

        This matter is before the court on defendants’ motions for new trial and judgment

 of acquittal following a two-week trial in which the jury returned guilty verdicts on 31 of

 33 charges against Phillip Harper, Frank Harper and Bernard Edmond. Phillip Harper

 and Edmond were found not guilty on Count 13, using and carrying a firearm during and

 relation to a crime of violence, specifically the March 12, 2011 carjacking.

        Frank Harper makes nine separate arguments for judgment of acquittal or a new

 trial, and Phillip Harper joins in the motion. (Frank Harper’s Motion for Directed Verdict,

 Judgment in Favor of the Defendants Notwithstanding the Verdict or, in the Alternative,

 for a New Trial [doc 140]; Frank Harper’s Supplemental Memorandum [doc 174]; Phillip

 Harper’s Notice of Joinder and Concurrence [doc 178]). Phillip Harper makes four

 arguments in his motion, which is joined in by Bernard Edmond and Frank Harper.


                                              -1-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3584 Filed 10/06/14 Page 2 of 15




 (Phillip Harper’s Motion for Directed Verdict, Judgment Notwithstanding the Verdict, or

 Alternatively, for New Trial [doc. 175]; Frank Harper’s Notice of Joinder [doc 177];

 Bernard Edmond’s Joinder [doc 176]). Bernard Edmond argues four bases in support

 of his motion for judgment of acquittal or new trial, which is joined in by Phillip and Frank

 Harper. (Bernard Edmond’s Supplemental Motion for a Judgment of Acquittal

 Notwithstanding the Verdict or in the Alternative, Motion for New Trial pursuant to Fed.

 R. Crim P. 29 and Fed. R. Crim P. 33 [doc 173]; Frank Harper’s Notice of Joinder [doc

 177]; Phillip Harper’s Notice of Joinder and Concurrence [doc 178]). Altogether, the

 parties have filed 258 pages of motions and briefs, and rely on roughly 2,000 pages of

 trial transcript.

         The government filed a motion to strike the portions of defendants’ reply briefs

 that raise new arguments not argued in their original motions. “Arguments raised for the

 first time in a reply brief are waived.” United States v. Owens, 458 F. App’x 444, 446

 (6th Cir. 2012). The court agrees that any new argument raised for the first time in the

 reply briefs is waived, and will not be addressed further by the court.

         The defendants were charged in an Amended Third Superseding Indictment with

 multiple counts of conspiracy, carjacking or causing carjacking, attempted carjacking,

 using or carrying a firearm during and in relation to a crime of violence, causing

 interstate transportation of stolen motor vehicles, falsification and removal of motor

 vehicle identification numbers, and operating a chop shop. At the close of the

 government’s case, counsel for defendants moved for directed verdict pursuant to

 Federal Rule of Criminal Procedure 29. The court took the motions under advisement

 and permitted the filing of supplemental pleadings. Defendants now raise numerous

                                              -2-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3585 Filed 10/06/14 Page 3 of 15




 issues in their motions brought pursuant to Rule 29 for judgment of acquittal, and Rule

 33 seeking a new trial.

        Rule 29 permits a court to set aside a guilty verdict and enter a judgment of

 acquittal if it finds that the evidence is insufficient to sustain a conviction. “All

 reasonable inferences must be drawn in favor of the jury’s verdict.” United States v.

 Conatser, 514 F.3d 508, 518 (6th Cir. 2008). The court is not to weigh the evidence,

 consider credibility, or substitute its judgment for that of the jury. United States v.

 Driver, 535 F.3d 424, 428-29 (6th Cir. 2008). If “any rational trier of fact could have

 found the essential elements of the crime beyond a reasonable doubt” then the motion

 must be denied. Jackson v. Virginia, 443 U.S. 307, 319 (1978).

        Under Rule 33, a judge may “grant a new trial if the interests of justice so

 requires.” A defendant challenging the sufficiency of the evidence bears the burden of

 proving that a new trial should be granted. United States v. Davis, 15 F.3d 526, 531

 (6th Cir. 1994). “When faced with a Rule 33 motion, unlike a motion for judgment of

 acquittal under Rule 29, the court may weigh the evidence and assess the credibility of

 the witnesses.” United States v. Matthews, 298 F. App’x 460, 465-66 (6th Cir. 2008).

 A. Sufficiency of Evidence for Convictions Against Phillip Harper, Frank Harper, and
 Bernard Edmond

        Each of the defendants argues that there was insufficient evidence from which

 the jury could convict them of the counts charged in the indictment. Defense counsel

 attempts to demonstrate the weaknesses in the government’s case, pointing out which

 elements of each charged offense the government failed to prove beyond a reasonable

 doubt. In response, the government goes through each element of the crimes charged,


                                                -3-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3586 Filed 10/06/14 Page 4 of 15




 and the corresponding evidence and testimony from which the jury could conclude that

 the elements had been proven.

        During the two-week trial in this case, the government presented substantial

 evidence and testimony to support each conviction under a direct, aiding and abetting,

 or Pinkerton theory as outlined in its response brief.

 B. Mention of the Word “Polygraph”

        At trial, Agent Southard was asked by the government to confirm that he was not

 present during Phillip Harper’s June 1, 2012 interview. Southard responded, “Correct.

 The polygraphs –“ Phillip Harper’s attorney interrupted and asked for a sidebar. The

 court asked defendants if they wanted a cautionary instruction and each declined. After

 the parties researched the law, the court heard additional argument and denied a

 motion for mistrial based on the use of the word “polygraph.” The court held that

 Southard’s truncated response was “so ambiguous” that the likelihood of an adverse

 inference to defendants was no more likely than a favorable inference. The court

 further noted that the harmlessness “inquiry is impossible for the Court to make at this

 juncture with so little evidence having been introduced . . . [and the Court] would be in a

 better position to make that assessment after the evidence . . . but my determination as

 to what we’ve got now is that the motion for mistrial should be denied, and I will enter an

 order to that effect.”

        There is no indication that Agent Southard’s reference to a polygraph was

 deliberate, and it was without substance. The court previously noted that it did not

 believe a juror would have inferred from Southard’s reference that defendant Phillip

 Harper had failed a polygraph exam. Furthermore, the bulk of the evidence in the case

                                             -4-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3587 Filed 10/06/14 Page 5 of 15




 was overwhelming as to the defendants’ guilt, making the polygraph reference harmless

 in contrast. United States v. Little, 1993 WL 453396, at * 11-12 (6th Cir. 1993); United

 States v. Murray, 784 F.2d 188, 189 (6th Cir. 1986).

 C. Juror Misconduct

         Defendants argue there was jury misconduct based on a post-trial meeting with

 jurors, when, in response to questions from defense counsel, a juror asked why their

 clients had not taken the stand. Defendants maintain that this question is evidence that

 the juror had improperly considered the defendants’ election not to testify in determining

 their guilt.

         The fact that a juror asked defense counsel a question about his strategy, in an

 informal discussion that took place after the verdict and in the presence of the judge and

 counsel, merely shows a curiosity about the criminal justice system. In this court’s

 experience, the question is one quite often asked by jurors following a criminal trial, and

 is not an indication of juror misconduct. Prior to deliberations, the court specifically

 instructed the jurors that:

         A defendant has an absolute right not to testify or present evidence. The
         fact that he did not testify or present evidence cannot be considered in any
         way. Do not even discuss it in your deliberations.

 There is no basis to conclude that by asking why counsel did not put his client on the

 stand the juror considered this fact as evidence of guilt in finding the defendants guilty.

 The court denies defendants’ motion for new trial on the basis of alleged juror

 misconduct.




                                              -5-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3588 Filed 10/06/14 Page 6 of 15




 D. Jury Instructions

        Defendants argue that the jury instructions relating to the charges of using or

 carrying a firearm during and in relation to a crime of violence in violation of 18 U.S.C. §

 924(c) were inadequate. The government responds that defendants failed to object to

 the challenged instructions at the time they were given, and therefore waived their right

 to later object. However, the court summarized defendants’ objections for the record,

 which had been voiced during the charging conference. Defendants generally

 complained that the instructions did not fairly encompass the law that applies regarding

 Pinkerton liability for substantive offenses committed by others within the scope of the

 conspiracy.

        Defendants maintain that the general aiding and abetting instruction is not

 sufficient to satisfy the requirement that the jury be instructed that defendant must have

 had advance knowledge of a firearm’s presence. United States v. Rosemond, 134 S.Ct.

 1240 (2014). The court instructed the jury that “the second element [of a § 924(c)

 offense] is that the defendant knowingly used or carried a firearm, or knowingly caused

 or aided someone to carry a firearm.” This instruction is based on the Sixth Circuit

 Pattern Criminal Jury Instructions § 12.02 (2013). The instruction does not specifically

 require that the defendant have advance knowledge, but, as the government points out,

 a defendant could not knowingly cause or aid a carjacker to carry a firearm unless they

 knew in advance that the carjacker would be using or carrying a gun.

        The aiding and abetting instruction provided that “[p]roof that the defendant may

 have known about the crime, even if he was there when it was committed, is not enough

 for you to find him guilty . . . without more it is not enough. What the Government must

                                             -6-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3589 Filed 10/06/14 Page 7 of 15




 prove is that the defendant did something to help or encourage the crime with the intent

 that the crime be committed.” This instruction comes from the Sixth Circuit Pattern

 Criminal Jury Instructions § 4.01 (2013). Pursuant to this instruction, in order for the

 jury to find that defendants “helped or encouraged” the crime of using or carrying a gun

 for the carjackings, it must have found that defendants knew in advance that a gun was

 going to be used, by a defendant, or another, or both.

        The jury was additionally given a Pinkerton instruction, which is proper where

 defendants are indicted for the substantive offenses committed by co-conspirators

 within the scope of the conspiracy. These are separate theories of liability: a defendant

 may be found liable for a substantive offense as an aider and abetter, or as a co-

 conspirator under Pinkerton. Aiding and abetting requires advance knowledge, while

 Pinkerton’s standard is one of reasonable foreseeability. Following Rosemond, a

 decision that was issued after the conclusion of trial in this case, other circuits have held

 that “even if there had been error regarding aiding and abetting, it was harmless

 because ample evidence supported [the defendant’s] liability under Pinkerton.” United

 States v. Young, 2014 WL 1327940, at *6 (2nd Cir. 2014).

        The evidence submitted at trial was that the carjackers were armed with loaded

 handguns, the alleged co-conspirators knew that Stratford Newton kept a loaded

 handgun for them in the minivans as they headed out to the carjackings, and that using

 the loaded handgun was the plan. There was certainly enough evidence to support a

 finding that defendants had advance knowledge that a gun would be used in the

 carjackings. Alternatively, the evidence supports a finding that it was reasonably

 foreseeable to defendant that a gun would be used.

                                              -7-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3590 Filed 10/06/14 Page 8 of 15




        This court finds no error in the jury instructions given as to § 924(c) liability or the

 aiding and abetting counts.

 E. Verdict Form

        Defendant Frank Harper contends that the verdict form was defective as to the

 firearm offense under 18 U.S.C. § 924(c) because it was general and did not require the

 jury to indicate whether defendant had used a gun, or aided and abetted a

 confederate’s use of a gun, during the carjackings. Defendant raises this issue in his

 supplemental memorandum ([doc. 174] p. 1), but fails to develop any argument as to

 why a distinction must be made in the verdict form. As such, the argument is deemed

 waived. See El-Moussa v. Holder, 569 F.3d 250, 257 (6th Cir. 2009).

 F. Bowman Post-trial Affidavit

        Frank Harper submits the affidavit of government witness Justin Bowman, dated

 October 14, 2013, wherein he states that he has never “seen, heard of, or witnessed”

 Frank Harper “commit any type of crime using or possessing a firearm”. This post-trial

 exculpatory affidavit purports to recant Bowman’s trial testimony regarding the robbery

 of Erroll Service, which is the basis of Counts Six and Seven.

        Recanted testimony is viewed with great suspicion, and Frank Harper’s record of

 tampering with other witnesses in this case supports this court’s suspicion of Bowman’s

 post-trial affidavit. “[A] motion for a new trial based on the recantation of a material

 government witness should be granted only if: (1) the court is reasonably well satisfied

 that the trial testimony given by the material witness is false; (2) without the false

 testimony, the jury might have reached a different conclusion; and (3) the party seeking

 the new trial was taken by surprise when the false testimony was given, and was unable

                                               -8-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3591 Filed 10/06/14 Page 9 of 15




 to meet it or did not know of its falsity until after the trial.” United States v. Alaniz, 75

 F.App’x 344, 350-51 (6th Cir. 2003) (citation omitted). Bowman’s testimony was in large

 part corroborated by Newton’s trial testimony, the victims’ testimony, the phone records

 and video placing Frank Harper with the other co-conspirators, and Frank Harper’s

 Twitter records showing his loaded handgun. The court is not satisfied that Bowman’s

 testimony during trial was false, and concludes that there was sufficient evidence aside

 from Bowman’s testimony to support the jury’s verdict.

 G. Constructive Amendment or Variance

        A constructive amendment results “when the terms of the indictment are in effect

 altered by the presentation of evidence and jury instructions which modify essential

 elements of the offense charged such that there is a substantial likelihood that the

 defendant may have been convicted of an offense other than the one charged in the

 indictment.” United States v. Nixon, 694 F.3d 623, 637 (6th Cir. 2012) (citation omitted).

 A constructive amendment violates the Fifth Amendment’s guarantee of a grand jury.

 United States v. Hynes, 467 F.3d 951, 962 (6th Cir. 2006).

        The conspiracy charged a violation of 18 U.S.C. § 371 and alleged that

 defendants committed several “offenses against the United States: carjacking[,]

 operating a chop shop[,] interstate transportation of stolen vehicles[,] and altering

 vehicle identification numbers[.]” (Third Superseding Indictment [doc. 109]). The

 indictment alleged that defendants committed 23 listed acts in furtherance of the

 conspiracy, including seven carjackings charged as an individual substantive crime, and

 several vehicle thefts, “along with other acts.” Id. Frank Harper claims that “the

 evidence presented at trial only made out a conspiracy to steal automobiles . . . even

                                                -9-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3592 Filed 10/06/14 Page 10 of 15




  though Mr. Harper had not been charged with this offense.” (Motion for Directed

  Verdict, p. 8 [doc. 140]). Phillip Harper joined in this argument as well.

         The jury instructions stated that count one Conspiracy “accuses the defendants

  of a conspiracy to commit the crimes of carjacking, interstate transportation of stolen

  cars, altering the vehicle identification number of cars, and running a chop shop, all in

  violation of federal law.” (Jury Instructions [doc. 139]).

         The jury found defendants guilty of conspiracy to commit federal crimes in

  violation of 18 U.S.C. § 371. Neither the evidence, nor the jury instructions, modified

  the conspiracy charge to somehow make simple auto theft a federal crime. The court

  does not find there has been a constructive amendment in this case.

  H. Brady Violation

         Frank Harper argues that the government provided discovery materials that were

  replete with errors, and it was only during trial that the defense was advised, by way of

  witness testimony, that the 302s were inaccurate, and included erroneous averments

  attributed to the cooperating witnesses. “[T]he Brady doctrine is not violated if Brady

  material is disclosed in time for its effective use at trial.’ United States v. Presser, 844

  F.2d 1275, 1283 (6th Cir. 1988). Defense counsel maintains that he did not know about

  the inaccuracies while he was preparing for trial, or while he was attempting to impeach

  Stratford Newton.

         “If previously undisclosed evidence is disclosed, as here, during trial, no Brady

  violation occurs unless the defendant has been prejudiced by the delay in disclosures.”

  United States v. Word, 806 F.2d 658, 665 (6th Cir. 1986). Frank Harper argues that his

  defense was predicated on impeaching Newton’s credibility, which in his estimation had

                                               -10-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3593 Filed 10/06/14 Page 11 of 15




  been seriously challenged until Agent Southard took the blame for the inaccuracies in

  the 302s. As Harper characterizes it, in one instant all of the preparation, planning and

  gains which had been made during cross examination of the government’s star witness

  were wiped away. However, trials cannot be scripted, and strategies are regularly

  reevaluated and changed based on how the evidence comes in. See Norris v.

  Schotten, 146 F.3d 314, 335 (6th Cir. 1998). Frank Harper had all the information he

  complains about during trial, and had the opportunity to cross-examine or call each

  witness to question them about the accuracy of the reports.

         The court finds no Brady violation in this case.

  I. Double Jeopardy

         The jury convicted Bernard Edmond of Count 22, which charged him with

  operating a chop shop from January 1, 2009 through December 31, 2011. On January

  20, 2010, Edmond pled guilty to a State of Michigan charge that he had attempted to

  operate a chop shop on one day during the same three year period - December 4,

  2009. Edmond argues that Count 22 placed him a second time in jeopardy for the

  Michigan offense for which he was convicted in 2010, in violation of the Fifth

  Amendment. Edmond raised this issue at trial when his counsel objected to testimony

  that related to the prior act Edmond pled to in State court which was not named in the

  overt acts at issue in the federal matter. (Doc 169, pg 169; doc 170, pg 126-27).

         A claim that an indictment places a defendant twice in jeopardy for an offense

  must be raised before trial, and is forfeited if not timely raised. Fed. R. Crim. P.

  12(b)(3)(A); United States v. Branham, 97 F.3d 835, 841-43 (6th Cir. 1996). Edmond

  did not raise his double jeopardy claim until the government had completed its proofs.

                                              -11-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3594 Filed 10/06/14 Page 12 of 15




         The Supreme Court has held that Double Jeopardy only bars successive

  prosecutions by the same sovereign. Therefore, the federal government may possibly

  prosecute a defendant for an offense even after a state has prosecuted the same

  defendant. Federal double jeopardy analysis traditionally is conducted through

  application of the same-element test originally articulated in Blockburger v. United

  States, 284 U.S. 299, 304 (1932). That test “inquires whether each offense contains an

  element not contained in the other; if not, they are the ‘same offense’ and double

  jeopardy bars additional punishment and successive prosecution.” Smith v. Mills, 98

  Fed. App’x 433, 436 (6th Cir. 2004) (citing United States v. Dixon, 509 U.S. 688, 696

  (1993)).

         In comparing the state offense of operating a chop shop in violation of MCL

  750.535a(b) and the federal offense charged in this case under 18 U.S.C. § 2322, both

  require that the defendant control the premises where the chop shop is operated, and

  one or more persons are engaged in disguising the identity of a stolen motor vehicle or

  major component part of a stolen motor vehicle. There is one additional element in the

  federal offense not present in the state offense, that is “to distribute, sell, or dispose of

  such vehicle or vehicle part in interstate or foreign commerce.”

         Even if Edmond’s double jeopardy challenge has not been forfeited, the

  additional element required for the federal offense of operating a chop shop means that

  this is not a successive prosecution barred by the Double Jeopardy Clause.

         Edmond’s second double jeopardy issue is that he cannot be sentenced both for

  carjacking in violation of 18 U.S.C. § 2119, and for violating 18 U.S.C. § 924(c) by

  causing a firearm to be used to commit the carjacking. However, Congress did intend

                                               -12-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3595 Filed 10/06/14 Page 13 of 15




  that the punishments for violation of section 924(c) and the underlying violent crime be

  cumulative when it said, “[a]ny person who, during and in relation to any crime of

  violence . . . uses or carries a firearm . . . shall, in addition to the punishment provided

  for such crime of violence . . . be sentenced [as follows].” 18 U.S.C. § 924(c). See

  United States v. Dye, 538 F. App’x 654, 664 (6th Cir. 2013) (unpublished) (affirming

  cumulative sentences for section 924(c) and arson).

  J. Jury Venire

         Defendant Edmond argues that the jury venire in this case failed to provide

  adequately for African Americans in violation of the Jury Selection and Service Act of

  1968. This Act requires that challenges to the venire in criminal cases be made “before

  the voir dire examination begins, or within seven days after the defendant discovered or

  could have discovered, by the exercise of due diligence, the grounds therefor,

  whichever is earlier.” 28 U.S.C. § 1867(a). In this case, Edmond raised his objection

  after voir dire was complete, but before the jury was sworn in.

         Constitutional challenges to the jury are governed by Fed. R. Crim. P. 12, and

  Rule 12(b)(3)(B) has been interpreted to require that challenges to the jury pool must be

  raised before the start of trial or they are considered waived. United States v. Ovalle,

  136 F.3d 1092, 1107 (6th Cir. 1998). The court may grant relief from a waiver upon a

  showing of cause and actual prejudice. Fed. R. Crim. P. 12(e); Ovalle, 136 F.3d 1107.

  In this case, Edmond argues that the violation speaks for itself - “[t]here were 81

  potential jurors and only two were residents of Detroit.” (Edmond Reply Brief, p. 24

  [doc. 192]).



                                               -13-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3596 Filed 10/06/14 Page 14 of 15




          However, to show cause for excusing a waiver under Rule 12, “a defendant must

  demonstrate that ‘some objective factor external to the defense impeded counsel’s

  efforts to comply with the . . . procedural rule.’” United States v. Boulding, 412 Fed.

  Appx. 798, 802 (6th Cir. 2011) (citation omitted). In this case, defendant has not done

  anything to demonstrate cause or actual prejudice, and therefore his objection is

  considered untimely and waived. It is therefore unnecessary to reach the merits of

  defendant’s challenge.

  K. Grand Jury Abuse

          Bernard Edmond contends that the indictment should be dismissed because of

  prosecutorial misconduct before the grand jury. He claims that Stratford Newton

  testified falsely before the grand jury and case agent Southard adopted those false

  statements in order to obtain the Third Superseding Indictment.

          Federal Rule of Criminal Procedure 12(b)(3)(A) requires that motions alleging a

  defect in the institution of the prosecution, such as this challenge regarding misconduct

  before the grand jury, be raised before trial. United States v. Brown, 498 F.3d 523, 528

  (6th Cir. 2007). Edmond’s motion, filed after the trial concluded, raises this issue for the

  first time.

          Even if Edmond’s motion were timely, an indictment can be dismissed for

  prosecutorial misconduct before the grand jury only if there is actual prejudice to the

  defendant. Bank of Nova Scotia v. United States, 487 U.S. 250, 254 (1988). The jury’s

  trial verdict is an absolute cure to any prejudice that could have been caused, even if

  the indictment was obtained through knowingly false testimony to the grand jury. United

  States v. Mechanik, 475 U.S. 66, 72-3 (1986) (“[T]he petit jury's verdict rendered

                                              -14-
Case 2:11-cr-20188-GCS-RSW ECF No. 200, PageID.3597 Filed 10/06/14 Page 15 of 15




  harmless any conceivable error in the charging decision that might have flowed from the

  violation.”).

  L. Cumulative Due Process Claim

         Frank Harper argues that the many errors in the trial, taken collectively, denied

  him of a fair trial in violation of his due process rights. “In order to obtain a new trial

  based upon cumulative error, [a defendant] must show that the combined effect of

  individually harmless errors was so prejudicial as to render his trial fundamentally

  unfair.” United States v. Trujillo, 376 F.3d 593, 614 (6th Cir. 2004) (citation omitted).

  The cumulative effect of the errors must have “deprived the defendant of a trial

  consistent with constitutional guarantees of due process.” United States v. Hernandez,

  227 F.3d 686, 697 (6th Cir. 2000). “Where . . . no individual ruling has been shown to

  be erroneous, there is no ‘error’ to consider, and the cumulative error doctrine does not

  warrant reversal.” United States v. Sypher, 684 F.3d 622, 628-29 (6th Cir. 2012).

         Defendant has failed to state a cumulative due process claim.

         For the foregoing reasons, defendants’ motions for directed verdict, judgment of

  acquittal notwithstanding the verdict, or for new trial are DENIED.

         IT IS SO ORDERED.

  Dated: October 6, 2014
                                               s/George Caram Steeh
                                               GEORGE CARAM STEEH
                                               UNITED STATES DISTRICT JUDGE

                                     CERTIFICATE OF SERVICE

                      Copies of this Order were served upon attorneys of record on
                          October 6, 2014, by electronic and/or ordinary mail.

                                         s/Marcia Beauchemin
                                             Deputy Clerk




                                                 -15-
